                                 IN THE UNITED STATES DISTRICT COURT                          11/2/2017
                                FOR THE WESTERN DISTRICT OF VIRGINIA
                                          LYNCHBURG DIVISION



  KYLE CARRINGTON,                                         CASE NO. 6:17–CV–00068

                                          Plaintiff,

                           v.                              CONSENT ORDER

  LIBERTY UNIVERSITY, ET AL,

                                       Defendants.         JUDGE NORMAN K. MOON


           This matter is before the Court upon Plaintiff Kyle Carrington’s (“Plaintiff”) motion to

 voluntarily dismiss Count IV of his complaint. (Dkt. 9). All parties have seen and consented to

 Plaintiff’s motion. There being no objections by any party, this Court finds dismissal of Count

 IV proper. Plaintiff’s motion to dismiss Count IV of the complaint (dkt. 9) is GRANTED. Count

 IV of Plaintiff’s complaint is DISMISSED WITH PREJUDICE. The case shall proceed with

 respect to the remaining causes of action.

           It is so ORDERED.

           The Clerk of the Court is directed to send a certified copy of this Order to all counsel of

 record.

           Entered this ____
                         2nd day of November, 2017.




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Case 6:17-cv-00068-NKM-RSB Document 15 Filed 11/02/17 Page 1 of 1 Pageid#: 293
